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                                           2361




                                                    Liberty Square Building
                                                    450 5th Street, N.W.
                                                    Washington, DC 20530


                                                    April 22, 2025



   Honorable Leda Dunn Wettre, U.S.M.J.
   United States District Court for the District of New Jersey
   Martin Luther King Jr. Federal Building & U.S. Courthouse
   50 Walnut Street
   Newark, New Jersey 07101

                  Re:     United States, et al. v. Apple Inc.
                          Case No. 2:24-cv-04055 (JXN-LDW)
                          Notice of Withdrawal of Counsel

   Dear Judge Wettre:

           This correspondence is submitted on behalf of Plaintiff the United States of
   America in the above-captioned matter. Pursuant to Local Civil Rules 101.1(c)(5) and
   102.1, I write to respectfully request that the Court approve Jessica Taticchi’s withdrawal
   as counsel for the United States, as she departed the U.S. Department of Justice Antitrust
   Division on April 18, 2025.

           Ms. Taticchi’s withdrawal will not result in any delay, as Plaintiff the United
   States of America will continue to be represented by the other counsel from the U.S.
   Department of Justice who have entered appearances in this case, including the
   undersigned.

          Thank you for your consideration of this matter.

   Respectfully submitted,

   /s/ Jonathan Lasken

   Jonathan Lasken
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   Antitrust Division
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   CC: All Counsel of Record (via ECF)
